The defendant in error on January 3, 1935, moved some of his cattle from Okmulgee county to Tulsa county for the purpose of feeding them for market. The county assessor of Tulsa county immediately listed these cattle for taxation. Shortly thereafter, but before March 1st, the defendant in error listed the same cattle for taxation in Okmulgee, county and they were duly assessed there. After the listing in Okmulgee county the defendant in error made complaint against the Tulsa county listing, and filed affidavit with the county board of equalization of Tulsa county, showing a listing of the cattle in Okmulgee county. A hearing was had before the board, and from an adverse ruling defendant in error appealed to the district court, which reversed the board, holding that the assessment in Okmulgee county precluded the listing of the same cattle in Tulsa county for the year 1935.
On appeal from the judgment of the district court the taxing officials assert: (1) That the equalization board was without jurisdiction to entertain the complaint, and the district court on appeal was also without jurisdiction; (2) that the court erred in holding that the cattle could not rightfully be taxed in Tulsa county.
On the first proposition it is urged that the Legislature in 1933 (ch. 115, S. L. 1933) amended section 12660, O. S. 1931, in such a way as to take away or exclude the right to a hearing before the board and to an appeal therefrom in circumstances such as here. The former section gave the right of appeal to "any taxpayer feeling aggrieved at the assessment as made by the assessor, or the equalization as made by the county board of equalization," whereas the amended section gives the right to appeal "in any case where the county assessor or the county board of equalization shall increase the valuation of any property above the value returned by the taxpayer." It is argued that the latter wording is not sufficient to include a case where the taxpayer does not return his property for assessment, but includes only those cases where a return has been made by the taxpayer and an increase over the valuation then placed by him on his property is attempted. In other words, the contention is that there is an increase in the valuation of property if the assessment is made by the assessor or board in any amount in excess of the value returned by the taxpayer, be his return ever so nominal, but there is no increase if the assessor or board assesses his property at any amount above zero when be makes no return. In the latter case, so it seems to be contended, he must permit the assessment to stand, budgets to be based thereon, levies to be computed, and the assessment and taxes to be certified to the treasurer, and then make application before another tribunal to obtain relief.
Section 12646. as amended by the 1933 act, gives the board of equalization the authority "to add omitted property, and to cancel assessments of property not taxable." It also provides that where any change is made in the assessed valuation of any property of any taxpayer, such change shall not be final until the taxpayer whose property is so raised or added is afforded an opportunity to be heard after due notice.
The Legislature did not repeal section 12653, O. S. 1931, which provides that:
"The proceedings before the board of equalization and appeals therefrom, shall be the sole method by which assessments or equalizations shall be corrected or taxes abated."
This section was construed in the case of Board of Com'rs of Canadian Co. v. Tinklepaugh, 49 Okla. 440, 152 P. 1119, wherein this court held:
"This section was the law at the time of the happening of the matters and things complained of, and provided a speedy and adequate remedy, by means of which defendants in error might have had relief from any inequality or injustice done them."
This section recognizes the right of appeal from the board of equalization in order to abate a tax or correct an assessment.
The amended act provides for an appeal only when the assessment is increased. We think, however, that an assessment is increased within the meaning of the act when it is increased from zero or no assessment as well as when it is increased from some valuation, nominal or otherwise. The purpose of the taxing procedure is to give the right to be heard to those taxpayers whose property is assessed beyond what they returned to the assessor, also where it is arbitrarily assessed in the absence of a return, and to give them a right to appeal to the district court.
The confusing nature of the tax laws before the 1933 amendment was called to the *Page 332 
attention of the taxing authorities and possibly thereby to the Legislature by this court, in the case of Bonaparte, County Treas., v. American Vinegar Mfg. Co., 161 Okla. 54,17 P.2d 441, decided in December, 1932. An examination of that case in connection with the amendment reveals that some of the repealed acts are specially referred to as confusing. In that case, however, this court pointed out that one who had not rendered property for taxation had the right to appear before the board of equalization to be heard on any assessment thereof made by it. We do not think that the Legislature intended to take away this right and thereby perhaps deny the equal protection of the law which the taxpayer was theretofore enabled to invoke by appearing before the board. Considering, therefore, the confusing state of the law before the act of 1933 and the acts which the Legislature took care to leave on the statute books, as well as those which it repealed and amended, we conclude that it intended to preserve to any taxpayer who was to be, charged with a larger percentage of tax burdens that he had made probable by his returns, the right to be heard and to appeal, thereby safeguarding to such taxpayer not only due process of law but also the equal protection of the law.
Consideration of the procedure for taxing property fortifies us in our conclusion herein. Various steps are taken preliminary to the levy of the tax. The purpose of the, review by the board of equalization is to fix as definitely as possible the valuations of the properties, assessable by it so that the total will furnish the basis for the tax levy to be made. Therefore it is desirable that all questions relating to value and taxability of property be settled by the board before these valuations are finally certified, if possible so to do. This cannot be done with certainty if the assessor and the board arbitrarily may add a large amount of property upon which returns have not been made, with no provision made for a hearing to determine the validity thereof until after the equalization board had adjourned. Fictitious valuations would result and consequent confusion.
Section 12585, O. S. 1931, governs the second proposition. Under it, provision is made for the listing of cattle for taxation when, for the purpose of feeding, they are moved from one county to another between September 1st in one year and April 15th of the following year. It provides, that such cattle shall not be listed for taxation in the county to which moved if the owner shall show by affidavit, that said, property has been listed for taxation for that year in another county. Obviously this affidavit, to have any effect, must be tiled with the assessing officers and its sufficiency determined by some assessing tribunal. Under the statutes first considered above, it is also obvious that the board of equalization is the proper authority to consider this affidavit under its power to add omitted property or to cancel assessments of property not taxable. The owner of the cattle has until the first of March to list the cattle so moved, if moved before that date. He cannot file an affidavit before January 1st because, as elsewhere, procedure for assessment in the county of origin does riot begin until January 1st. It follows, therefore, that his affidavit is in time if filed within the period after he has listed the property in the county of origin and before the board of equalization of the second county has adjourned. We need not here consider what his remedy would be if he has no notice that there is a proposed listing in the county where located for pasture, since in this case the taxpayer bad actual notice in time to appear before the board.
This special statute under consideration has not been repealed. It is mandatory in its terms and forbade the listing in Tulsa county where there was a timely listing in Okmulgee county. When it was made to appear, therefore, that the cattle had been listed and assessed in Okmulgee county within the period of time the taxpayer had the privilege of listing his, property, the, assessing officers of Tulsa county were prohibited from listing or assessing the same cattle for taxation in Tulsa county, and the listing in Tulsa county constituted an assessment which should have been canceled by the board.
The method of making a record and taking appeal to the district court followed, in the main, is the procedure provided by amended section 12660. No objection thereto was made in the court below, and we think it sufficient.
The judgment is affirmed.
OSBORN, C. J., BAYLESS, V. C. J., and WELCH, PHELPS, CORN, and DAVISON, JJ., concur. RILEY and HURST, JJ., dissent.